Case 2:20-cv-11662-GW-E Document 25 Filed 11/08/21 Page 1 of 1 Page ID #:236

                                                                           JS-6
 1 PRINDLE GOETZ BARNES & REINHOLTZ, LLP
   R. Derek Classen (SBN 162805)
 2 One World Trade Center, Suite 1100
   Long Beach, CA, 90831
 3 Tel: (562) 436-3946
   Fax: (562) 495-0564
 4 dclassen@prindlelaw.com
     TARG-0480
 5   Attorneys forDefendant
     TARGET CORPORATION
 6

 7

 8                    UNITED STATES DISTRICT COURT
            CENTRAL DISTRICT OF CALIFORNIA - WESTERN DIVISION
 9

10   ANTHONY SPARKS,                            CASE NO: CV 20-11662 GW Ex
11                        PLAINTIFF,            JUDGMENT FOLLOWING
                                                TARGET CORPORATION’S
12           vs.                                MOTION FOR SUMMARY
                                                JUDGMENT
13   TARGET CORPORATION AND DOES
     1 TO 10, INCLUSIVE,
14                                              DATE: November 4, 2021
                          DEFENDANT.
15                                              TIME: 8:30 A.M.
                                                CTRM: 9D
16

17
             Pursuant to this Court’s granting Defendant, TARGET CORPORATION’S
18

19   Motion for Summary Judgment, Judgment is entered in favor of Defendant,
20   TARGET CORPORATION and against Plaintiff, ANTHONY SPARKS. Plaintiff
21
     shall take nothing; Defendant TARGET CORPORATION is entitled to its
22

23   recoverable costs pursuant to FRCP 54.
24   DATED: November 8, 2021
25                                    _________________________________
                                      HON. GEORGE H. WU, U.S. District Judge
26

27

28

                                                1
                   [PROPOSED] JUDGMENT FOLLOWING MOTION FOR SUMMARY JUDGMENT
